IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

Zhaoshi Tang,

Case No. 23-cv-04587

Plaintiff,

Judge Thomas M. Durkin
v.

Magistrate Judge Jeffrey Cole
THE PARTNERSHIPS AND

UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

Defendants.

NOTICE OF MOTION

PLEASE TAKE NOTICE that on Friday, August 25, 2023, at 9:30 a.m., Plaintiff, by its

counsel, shall appear before the Honorable Thomas M. Durkin in Courtroom at the U.S.
District Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois,

and present Plaintiff’s Motion for Entry of a Preliminary Injunction as to Defendants 1-18.
Dated: 22nd August 2023 Respectfully Submitted:

/RDWy/

Robert M. DEWITTY

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Counsel for Plaintiff ZHAOSHI TANG
CERTIFICATE OF SERVICE

I hereby certify that on the 23rd day of August 2023, I will electronically file the foregoing
with the Clerk of the Court using the CM/ECF system, I will electronically publish the documents
on a website and I will send an e-mail to the e-mail addresses identified in Exhibit A hereto that

includes a link to said website.

/s/ Robert M. DeWitty

Robert M. DeWitty

Attormey,

Plaintiff Zhaoshi Tang,
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